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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 STEVIE KLINE,                                     )
                                                   )
         Plaintiff,                                )
                                                   )
         v.                                        )              Case No. 4:24-cv-01420-SRC
                                                   )
 CANAM STEEL CORPORATION et                        )
 al.,                                              )
                                                   )
         Defendants.

                                    Memorandum and Order

       In 2017, Missouri enacted a new law providing exclusive remedies for claims for

damages or injury arising out of an employment relationship. The Missouri appellate courts

have not had occasion to determine the scope and contours of that law. This case presents novel

questions of interpretation of that law, particularly as to the allegedly fraudulently joined

defendant. That presence of that defendant destroys diversity, and this Court accordingly lacks

subject-matter jurisdiction. The Court remands the case to state court to wrestle with the novel

issues of state law at hand.

I.     Background

       A.       Factual background

       In her complaint, Stevie Kline alleges the following. Canam Steel operates a steel facility

in Washington, Missouri. Doc. 11 at ¶ 4. In April 2023, Canam Steel employed mostly males,

including Josh Summers, but it also employed some females, including Kline and Amy Smith.

Id. at ¶¶ 5–7, 12–15.

       Around “April 2023, [Kline], as well as other female employees, discovered a camera

hidden in the women’s locker room.” Id. at ¶ 15. Smith and Summers had installed the camera,
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positioning it to point directly at the women’s shower. Id. at ¶¶ 16, 20. The camera “was a ‘trail

camera’” that hunters use. Id. at ¶ 18. As such, the camera had a motion sensor, which activated

the camera’s filming and still-shot functions when a woman moved in the locker room. Id. at

¶ 19. The videos and pictures were sent directly to Summers’s phone, and Summers later

showed them to “many male union members at union meetings.” Id. at ¶¶ 21, 23. While the

camera was present in the locker room, Kline changed her clothes and took showers. Id. at ¶ 22.

       Upon discovering the camera, Kline and other female employees reported the camera to

management. Id. at ¶ 24. Management did not discipline anyone “for placing the camera in the

women’s locker room” or for “showing the videos and pictures to other people.” Id. at ¶ 25.

       B.      Procedural background

       Kline filed this case in state court and Canam Steel removed it to this Court. Doc. 1. In

her complaint, Kline alleges that Canam Steel violated the Missouri Human Rights Act by

(1) engaging in sex discrimination, doc. 11 at ¶¶ 1, 33–38, (2) subjecting Kline to a hostile work

environment, id. at ¶¶ 1, 39–48, and (3) retaliating against Kline after she opposed the sex

discrimination, id. at ¶¶ 1, 49–55. Kline also alleges that Summers and Smith intentionally

inflicted emotional distress, id. at ¶¶ 56–61, and intruded upon Kline’s expectation of privacy, id.

at ¶¶ 62–69. Finally, Kline alleges that Summers publicly disclosed embarrassing facts about

Kline. Id. at ¶¶ 70–79. Kline now moves to remand this case to state court, claiming that Canam

Steel improperly removed it based on the fraudulent-joinder doctrine. Doc. 17.

II.    Standard

       A defendant may remove to federal court any state-court civil action over which the

federal court could exercise original jurisdiction, 28 U.S.C.§ 1441(a), including “all civil actions

where the matter in controversy exceeds” $75,000, exclusive of interest and costs, and is



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between “citizens of different States,” 28 U.S.C. § 1332(a)(1). A “plaintiff cannot defeat a

defendant’s ‘right of removal’ by fraudulently joining a defendant who has ‘no real connection

with the controversy.’” Knudson v. Sys. Painters, Inc., 634 F.3d 968, 976 (8th Cir. 2011) (first

quoting Chesapeake & Ohio Ry. Co. v. Cockrell, 232 U.S. 146, 152 (1914); and then citing

Simpson v. Thomure, 484 F.3d 1081, 1083 (8th Cir. 2007)).

        To prove fraudulent joinder, a defendant must show that the plaintiff’s claim against the

relevant defendant “has ‘no reasonable basis in fact and law.’” Id. at 977 (quoting Filla v.

Norfolk S. Ry. Co., 336 F.3d 806, 810 (8th Cir. 2003)). In other words, “if it is clear under

governing state law that the complaint does not state a cause of action against the non-diverse

defendant, the joinder is fraudulent.” Id. at 980 (quoting Filla, 336 F.3d at 810). On the other

hand, “joinder is not fraudulent where ‘there is arguably a reasonable basis for predicting that the

state law might impose liability based upon the facts involved.’” Id. (quoting Filla, 336 F.3d at

811).

        This standard “require[s] the defendant to do more than merely prove that the plaintiff’s

claim should be dismissed pursuant to a Rule 12(b)(6) motion.” Id. (citation omitted). “[I]f

there is a ‘colorable’ cause of action—that is, if the state law might impose liability on the

resident defendant under the facts alleged—then there is no fraudulent joinder.” Filla, 336 F.3d

at 810 (citation omitted). The Court resolves “all facts and ambiguities in the current controlling

substantive law in the plaintiff’s favor,” id. at 811 (citing Fields v. Pool Offshore, Inc., 182 F.3d

353, 357 (5th Cir. 1999)), and if the sufficiency of the complaint is questionable, the “better

practice” is “to remand the case and leave the question for the state courts,” id. (quoting Iowa

Pub. Serv. Co. v. Med. Bow Coal Co., 556 F.2d 400, 406 (8th Cir. 1977)).




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III.       Discussion

           A.      Motion to remand

           Kline and Canam Steel are citizens of different states and the amount in controversy in

this case exceeds $75,000 exclusive of interest and costs. Doc. 11 at ¶ 2, 33–79; doc. 1 at ¶¶ 37–

41; doc. 1-2 at ¶¶ 45. Accordingly, if Kline fraudulently joined Summers and Smith, as Canam

Steel asserts, the Court has subject-matter jurisdiction under section 1332(a)(1), and the Court

must dismiss Kline’s claims against Summers and Smith. See Johnson v. Midwest

Division - RBH, LLC, 88 F.4th 731, 736 (8th Cir. 2023). But if the Court concludes that

fraudulent joinder did not occur, the Court must remand this case to state court for lack of

subject-matter jurisdiction because Summers and Smith are citizens of the same state (Missouri)

as Kline. Doc. 11 at ¶¶ 2, 6–7; 28 U.S.C. § 1332(a)(1); 28 U.S.C. § 1447(c).

           Canam Steel believes that Kline fraudulently joined Summers and Smith. Doc. 1 at

¶¶ 28–36. In its view, no reasonable basis exists to conclude that Missouri might impose liability

on Summers, Smith, and the Doe defendants because the Missouri Human Rights Act preempts

Kline’s claims against Summers and Smith. Id. at ¶¶ 30–36. Kline, on the other hand, argues

that the Missouri Human Rights Act does not preempt her intentional-infliction-of-emotional-

distress and invasion-of-privacy claims because she has pleaded these claims in the alternative to

her Missouri Human Rights Act claims. Doc. 18 at 10–11. 1 Further, she claims that the

Missouri Human Rights Act does not preempt her invasion-of-privacy claim because she

premised that claim on entirely different facts than her Missouri Human Rights Act claims. Id.

at 11–13.

           The Missouri Human Rights Act states in part:



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    The Court cites to page numbers as assigned by CM/ECF.

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       It shall be an unlawful discriminatory practice for an employer, employment
       agency, labor organization, or place of public accommodation:

               (1) To aid, abet, incite, compel, or coerce the commission of acts prohibited
               under this chapter or to attempt to do so;

               (2) To retaliate or discriminate in any manner against any other person
               because such person has opposed any practice prohibited by this chapter or
               because such person has filed a complaint, testified, assisted, or participated
               in any manner in any investigation, proceeding or hearing conducted
               pursuant to this chapter;

               (3) For the state or any political subdivision of this state to discriminate on
               the basis of race, color, religion, national origin, sex, ancestry, age, as it
               relates to employment, disability, or familial status as it relates to housing;
               or

               (4) To discriminate in any manner against any other person because of such
               person’s association with any person protected by this chapter.

Mo. Rev. Stat. § 213.070.1. In 2017, Missouri made several amendments to this statute and the

applicable definitions statute, Missouri Revised Statute 213.010. For example, Missouri made

section 213.070, and two other statutes, “the exclusive remedy for any and all claims for injury

or damages arising out of an employment relationship.” Mo. Rev. Stat. § 213.070.2. In other

words, section 213.070.2 preempts any and all claims for injury or damages that arise out of an

employment relationship.

       Thus, the fraudulent-joinder analysis raises the question of whether “there is arguably a

reasonable basis for predicting that” section 213.070.2 does not preempt Kline’s claims against

Summers and Smith. Knudson, 634 F.3d at 980 (quoting Filla, 336 F.3d at 811). The Court

finds that a reasonable basis does exist.

       The Missouri Humans Right Act does not define any of the operative terms that make up

the exclusive-remedy provision. See Mo. Rev. Stat. § 213.010. And neither Kline nor Canam

Steel has identified any caselaw that interprets or applies it. See docs. 17–18, 23, 25. Nor has



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the Court, in its independent research, found any. The absence of guidance from Missouri state

courts leaves the Court with several lingering questions about the scope of the exclusive-remedy

provision and how it applies here, particularly to Kline’s invasion-of-privacy claim.

       First, Kline premises her invasion-of-privacy claim, in part, on facts that occurred while

Summers was at union meetings, i.e., away from Canam Steel’s facility. Doc. 11 at ¶¶ 23, 71.

Allegedly, Summers’s camera captured photos and videos of Kline while she was in the locker

room at Canam Steel, and Summers showed those pictures and videos, which were on his phone,

to union members at the union meeting. Id. at ¶¶ 21, 23, 71. These alleged facts imply that the

relevant conduct arises partially from, if not wholly from, an employment relationship. Does

section 213.070.2 preempt claims that arise partially from an employment relationship, or does it

preempt only claims that arise wholly from an employment relationship?

       Second, the alleged facts suggest that Summers obtained and published the photos and

videos in part for his and others’ personal gratification. See id. at ¶ 4 (alleging that Canam Steel

operates a steel facility—an operation that Summers’s actions did not further). Does a claim

“aris[e] out of an employment relationship” when the conduct giving rise to it was for personal

gratification, not work purposes? And, relatedly, does the fact that the alleged wrongdoer acted

in his personal capacity render a claim outside of the scope of the exclusive-remedy provision?

       Third, the facts and questions discussed above beget the question of from whose

“employment relationship” must a claim arise—the claimant’s (e.g., Kline’s employment

relationship with Canam Steel), the alleged wrongdoer’s (e.g., Summers’s employment

relationship with Canam Steel), or either? See, e.g., Alst v. Mo. CVS Pharmacy, LLC, No. 4:20-

cv-00155-NKL, 2020 WL 2319882, at *2 (W.D. Mo. May 11, 2020) (remanding the case

because the plaintiff alleged that the conduct occurred “outside and beyond the scope of her



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employment” (emphasis added)); Matthews v. Syncreon.US, Inc., No. 20-CV-6140-SRB, 2020

WL 6538332, at *3 (W.D. Mo. Nov. 6, 2020) (remanding a case where the plaintiff alleged, in

the alternative, that the individual defendant was acting outside the scope of his employment

relationship with the employer defendant when he assaulted and battered the plaintiff); Johnson,

88 F.4th at 735–36 (affirming the denial of a remand motion because the plaintiff had pleaded

that the person who conducted the relevant conduct “was ‘acting within the course and scope of

her employment,’” not the plaintiff’s employment, with the employer defendant).

       A Missouri state court might reasonably answer each of these lingering questions in favor

of either Kline or Canam Steel, and this federal Court need not, and should not, definitively

resolve these questions. Filla, 336 F.3d at 811. Instead, Missouri state courts should have the

first opportunity to determine these important issues of state law. Thus, for purposes of this

motion, the Court resolves these lingering questions in favor of Kline and in favor of remand. Id.

       B.      Motion to file a sur-reply

       Canam Steel moves to file a sur-reply regarding Kline’s motion to remand. Doc. 26.

Federal courts have the discretion to allow a party to file a sur-reply if justice so requires, but

courts largely disfavor sur-replies. E.g., Johnson v. City of Leadington, Case No. 4:19-cv-02282-

SEP, 2022 WL 179218, at *10 (E.D. Mo. Jan. 20, 2022). Upon review of its motion and Kline’s

briefing, the Court finds that Canam Steel has failed to identify any consideration that justifies

filing a sur-reply. The Court therefore denies Canam Steel’s motion for leave to file a sur-reply.

IV.    Conclusion

       For the reasons explained above, the Court grants Kline’s [17] Motion to Remand and

denies Canam Steel’s [26] Motion for Leave to File Sur-Reply in Further Opposition to

Plaintiff’s Motion to Remand. Further, the Court denies as moot Defendants’ [9] Joint Motion to



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Dismiss. Pursuant to section 1447(c), the Court remands this case to the Circuit Court of the

City of St. Louis, Missouri, and directs the Clerk of Court to mail a certified copy of this order of

remand to the clerk of the state court. A separate order of remand accompanies this

memorandum and order.

       So ordered this 4th day of December 2024.



                                              STEPHEN R. CLARK
                                              CHIEF UNITED STATES DISTRICT JUDGE




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